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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


Denson International Limited,                     Civil File No. 12-CV-03109-DSD-JSM

              Plaintiff/Counter-Defendant,
                                                      DEFENDANT’S MOTION FOR
v.                                                      SUMMARY JUDGMENT

Liberty Diversified International, Inc.,

              Defendant/Counter-Plaintiff.

 TO:    Plaintiff/Counter-Defendant Denson International Limited and its attorneys
        Craig S. Krummen and Tiffany A. Blofield, Winthrop & Weinstine, P.A., 225
        South Sixth Street, Suite 3500, Minneapolis, MN 55402.

       Pursuant to Rule 56 of the Federal Rules of Civil Procedure and other applicable

law, Defendant Liberty Diversified International, Inc. moves this Court for summary

judgment on all of Plaintiff Denson International Limited’s claims. The Motion is based

upon the pleadings, all of the files, records, and proceedings herein, and a Memorandum

of Law and supporting declarations, which will be served and filed pursuant to the

Court’s Third Amended Pretrial Scheduling Order.



Dated: April 14, 2015                        Dorsey & Whitney LLP

                                             By Meghan L. DesLauriers
                                                William R. Stoeri #140880
                                                stoeri.bill@dorsey.com
                                                Meghan Lind DesLauriers #389034
                                                deslauriers.meghan@dorsey.com
                                             Suite 1500, 50 South Sixth Street
                                             Minneapolis, MN 55402-1498
                                             Telephone: (612) 340-2600

                                             Attorneys for Defendant Liberty Diversified
                                             International, Inc.
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